        Case:17-03283-LTS Doc#:19807-12 Filed:01/18/22 Entered:01/18/22 13:06:57 Desc:
           Exhibit Exhibit 12 Substantial Completion Certificate and Use Permit Page 1 of 2



          '~AlA Document G704"- 2000
          .Certificate of Substantial Completion
'
          PROJECT: (Namemrd addres.)                          PROJECT NUMBER:                   447
                                                                                                                                                OWNER D
                N<JeVO Centro Jud1cO.I de Caguas             CONTRACT FOR:                Cenlro Judicial de C.guas
                                                                                                                                           ARCHITECT, 0
                State Road PR-189 KM.0.4
                                                             CONTRACT DATE:.              February 10,2011
              Cagu.as, PR 00725                                                                                                         CONTRACTOR 0
          TO OWNER' (Name a11d addn>.<s)                     TO CONTRACTOR: (Name and address)
                                                                                                                                                 FIELD [J
              Ramhil Devlopers, Inc.                                           F&R Constn.u;tion Group, Inc.
                PO Box 190573                                                  PO Box 9932                                                      OTHERO
                San Juan, PR 00910-0573                                                   San Juan, PR 00908-9932
          PROJECT OR PORTION OF THE PROJECT DESIGNATED FOR PARTIAL OCCUPANCY OR USE SHALL INCLUDE:

    \           Caguas~tctal Center Butt                     Park1ng Buildmg and Corresponding Sije
                           , o/114-                    -
                    ' i ffli.J
              Work pe ormed Ull        tills Comract ha' been reVIewed and found, to the Archlteot's best knowledge, Information
          and beh<f. t be substanbally complete Substant!al Completion IS the stage m the progress of the Work "hen the
          Work OT de,lgnated portion is sufficiently complete in accordance with the Contract Documents so that th~ Owner can
          occupy or utilize the Work for its intended u:;e_ The date of Subotantial Completion of tbe Proje<:t or portion      '
          designated above' iS the date of i>Suance estahJi,hed by this Certificate, which is also the date of commencement of
          applicable warranties required by the Conlrael Documents, except as stated belOw:'                              -




                                                                                                             Decemt>er 18, 2013
                                                                                                            DATI: 01' ISSUANCE




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          The
          F&R Construction Group, Inc.
          CONTRACTOR

          The                                                                                             and V:•Lll a<;ume full possesston at
                                                                                                            (date).•
            Ramhil Developers, Inc
           OWNER                                                                                            DATE.
          The re<ponsibihties of the Ov,:ner and Contractor for 'ocurity,                              damage to the Work and
          insur"nce •hal! be as follows: (Note: Ow11er':; m~d Connac-lor.' s legal,..;., imuranc-e counsel should detcmiine and
          revie1i• ins111'<l11ce requiremems a"d nwerage.)
                                                    F&R CortS!ruction Group- Warrantees
                                                    Owr>erS -All OtherS


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          ~<A·~""""'""';,"-"""''"' b~ U.S. C..-p;·r:""' l'" '"" '"'""""""'' T:"""" Lnau!Oc~.wO "'P"'~""'"'" o• O'Str,bci•ao <>< rh'S AlA~~oeum<m1,
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          PU'Chl""'" ace P""''""" to "'Jl'OdUce teo (101 GOP''' ofth.s droJment wl>eo oomp,!ed. To repe<t CCOY"Oht ''"..,""" ol AlA Coo:"'ct Documeots, ,._,;~,
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          Tho /lffie""" '"'''-"• oi Arch•:ec<s'      c'"""''· O>p)right@a~a.o'i   -                                   -
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                  Case:17-03283-LTS Doc#:19807-12 Filed:01/18/22 Entered:01/18/22 13:06:57 Desc:
                     Exhibit Exhibit 12 Substantial Completion Certificate and Use Permit Page 2 of 2




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                  ·p;;p6Sito: oFtctNAS r8t~lJf'lAL EN LOS NJVElES 1 @ a, CAFETERIA EN PRIMERA PLAttT~ a·~ICINA~, '·.·-1
                   EN PJSO 9 • CUARTO DE SISTEMA DE ENFRIAMIENTO Y CUARTO DE GENERADORES                                                                                   '                    .1
                   EOIFICIO ACCESORIO DE CINCO NIVELES PARA ESTACIONAMIENTO CON OFICINAS ADMINISTRATlVASc-~,-
                   CASETA DE V!GILANCJA, ESTACION DE BiJMBAS Y GENERADOR ELECTRICO                                                                                         - - -.--

      I            Solicitado por; ~M~IL DEVEt.pPERS, INC. /."CENTRO J~DlCIAL DE CAGU~S"

                   En conformidad_con las disp(JSICiones legales y reglilmentarias, se expide el presente periniSo' para Ia
                   pertenimcia:ubii:S.da en ¢ARR. -PR l,ESQ. fR 189 KM. 0.4 80. PUEBLO en·Cag~a{en·un Sdificio de
      r            BLOQU~S_ '(;tl_(!Rf:11!'0~N a .~1vel d.e PRI~ERA@ NOVENA PLANT~Y;EOifl~IO~ACCE_SORIO DE:'-
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